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                                                                                 Bruce and Marie
                                                                                 Goodwyn

                                                                                            TX
                                                                                 76210
United States District Court for the District of Columbia                        05/20/23
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

 Dear Judge Walton,

   Daniel is our middle son and we love him very much. His life is guided by his Christian values, and
he does not ever intentionally do anything wrong towards anyone. Daniel is kind and loving toward us
and others. He is a diligent worker and can be trusted with responsibilities. He respects police and other
authorities over him. We raised him that way, and as an adult he believes this is the proper way to live in
civil society. Daniel is active in church life and spends much of his free time in prayer, Bible study, and
evangelism.

     Daniel was diagnosed with Autism Spectrum Disorder. As a child we noted he was different, and
that discussions with others needed coaching on social interaction where he would not be so strong-
minded in argument without taking into account all views, especially when others relied upon emotion or
parroting what they heard rather than evidence and facts. He has an inquisitive, bright mind. His mental
processes are very fact and evidence based. While he examines and hypothesizes possible outcomes given
known and unknown facts, his social interactions in new situations often rely on in the moment visual and
audio cues. He logically argues. Daniel perseveres until he gets to the truth, whichever way the chips fall. But
in the present, such as with the Wyoming officer in asking for how he could be trespassing in a parking lot
when not wearing a mask inside his car, he does not foresee the outcome of being dragged out of his car and
charged by the supervising officer who saw no need in advising him of what was allegedly done wrong. Life
experiences such as this taught Daniel that no matter how polite, to never even appear to argue with law
enforcement. As an adult with autism, Daniel does not have to relearn this lesson. His immediate obedience
to the officer in departing the U.S. Capitol included the judgment error he made in responding to a
livestream reporter that delayed his departure.

    On January 6, 2021, Daniel had no cue or reason to believe he could not be outside, and no cues indicated
that people could not enter the west door as nearby police just watched as many went inside the door. Your
honor - we ask that you consider how important these circumstances were to someone with autism that sees
things in black and white in the present. In humanely considering the circumstances here, we ask that
you consider that Daniel's view of the world tends to be more black-and-white than that of
neurotypical people. When police casually stood nearby in a large group without objection to any
First Amendment speech or people entering the door at his location, Daniel as someone with autism
did not receive a signal that anything was wrong. It was black and white that he could be there
given police not demanding anyone leave.

    The point we ask you to consider is that someone with autism, who was never before at the US
Capitol or other US federal buildings, would not know anything was wrong after he attended another
large protest and saw that in some states entry to use First Amendment speech in the state Capitol
building was allowed. We are not arguing about people without autism and what they might consider.
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We are asking you to consider what Daniel knew from experience and during his presence at his
location on January 6, 2021. Neither Daniel nor we are blaming police here. We are asking you to
consider as a mitigating factor that Daniel took his cues from the entire circumstances where police
outside gave no signals that he should leave and could not enter the door. Daniel had no bad intent that
day - he was present to support the Constitutional process, and he was not amidst violence at his
location. Given his autism, we ask you to compassionately consider both his intent and the cues his
brain received that day. He wanted people to support the objections that called for impartial
investigation to put the election integrity matter to rest. It was not in his experience that police were
standing nearby for anything more than being assigned to be at the location, whether on call for an
emergency or other normal police functions. Daniel had no awareness of what had transpired earlier
with anyone breaking into the building or how doors were opened from the inside by protesters. He only
knew the door was open and had no idea what was and was not an official entrance for visitors. From an
adult with autism's perspective, there was nothing illogical with doors being opened for peaceful protest
under the watchful eye of police. He had seen other protests by people within the US Capitol on media
before, and no mention was made of arrests. This was black and white to him that he was doing nothing
wrong.

    Daniel is always honest and forthright, no matter the cost and detriment to himself. His sincere goal
is to reach truth and clarity. He went to the U.S. Capitol on January 6, 2021 to support the legal
process under the Constitution. He sent out messages to friends and family that Senator Cruz was
going to sign on to an objection for investigation of possible election illegalities. Daniel was not
present to stop a process - he was there to cheer for the legal process. He did not see any sign, saw no
police and had no indication that he could not enter the Capitol grounds where he knew a permitted
rally was to be held. Daniel had the electronic leaflet for the rally at the Capitol. Nothing was
canceled. Thousands from the march from the Ellipse were ahead of Daniel, and nothing indicated
entry was prohibited. Given his autism and his counseling and therapy, Daniel knows to look for signs
of what is appropriate. On the terrace among peaceful people where he was located, he did not know
that he could not enter an open door after he saw police standing by and letting people go in.

     To someone with autism who attends therapy to refine his social interactions and better
understand cues, what Daniel saw outside the building as being allowed by law enforcement was
very important to his understanding of what was lawful behavior. He was not amidst violence or
calls for violence at his location. It is not in his nature to call for harm to anyone, and he did not do
so. He would never support actions by anyone else that would cause harm to any person. As a
sincere Christian, he would never support physical harm to any member of Congress or the Capitol
building. As a man with autism, he relies on the truth and cues of what he sees and hears. Daniel saw
police letting people enter the building. He did not hear anything that sounded like an alarm.
Whether there should have been an open door or that anyone broke in the building was not amidst
the cues Daniel had at the time. The door was already open when Danial arrived, and people got in
line to enter. Daniel heard nobody near him calling for any violence. We have watched video that
confirms what was seen and heard by Daniel. Please consider his autism as mitigating given his
location and peaceful actions, and not what others did elsewhere that he did not see or hear. Daniel
was not aware until the evening of January 6th that there had been violence.

    And despite an officer angrily confronting Daniel when he peacefully stopped to look around
after walking a short distance inside the building, Daniel did not physically respond. As parents of
an autistic son, we understand his response of calling out "oath breaker" where Daniel believed the
officer had without cause spoken uncivilly toward him after the officer let other civilians ahead of
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 Daniel enter and remain inside. Words and tone, such as the officer's toward Daniel, that were
 incongruent to the immediate setting where everyone was peaceful while albeit it was noisy, were
 not aligned with Daniel's learned expectation of mutual respect between law enforcement and
 citizens. It was black and white to Daniel. He did not know what had transpired an hour and fifteen
 minutes earlier by that entrance. We ask that you take his words and entry as a man with autism
 under mitigating conditions. Daniel is prone to asking questions and logical argument - but as the
 video shows, he obeyed the officer and admitted in his plea statement of the offense that he should
 not have delayed his departure for the short period to talk to the livestream reporter.

     Daniel does extensive research into controversial topics, often in connection with his work. He
 arrives at his conclusions independently, and thus has a high degree of conviction in those
 conclusions. After the 2020 elections there was a lot of talk about problems with election integrity.
 This is why he saw the need for election results to be investigated using the legal process prescribed
 by the US Constitution and statute. He did not desire to subvert the legal process, and only sought to
 support and follow it. He entered the Capitol through an open door. As mentioned above, he had
 earlier seen other protesters entering state capitol buildings without consequence. He was not violent,
 he did not enter forcibly.

    His intentions on January 6, 2021 were good, and he was present where he believed he could be. He
had no idea at that time that violence occurred elsewhere. He wanted the Electoral Vote Count to proceed with
the announced objections and debate. The violence and delay caused further debate and planned objections with
calls for investigation to be eliminated when the sessions restarted. The violence and its result left Daniel as
upset as those angered by the violence alone. Daniel is a law abiding citizen whose only future potential
issue given his autism is logical argument - and not action. He is not violent, and not a threat to anyone.

     Despite his love of people and his high intelligence, some social cues and subtleties of everyday
 life are lost on Daniel except through first time experience or as brought to his attention. He continues
 to require therapy and counseling - that are not available in prison. As his parents we honestly state that
 incarceration would be detrimental to his mental health and even potentially dangerous to him. Please
 do not incarcerate Daniel. Please do not further subject him to humiliation and limitations that stunt
 him in restarting his independent adult life. Please do not order probation or supervision of more than
 a few months. His situation for regaining independent responsibility for his words and actions is
 different from those without autism. He will remain in therapy and counseling. He has a large support
 system of family and friends. He has been under enormous stress for over two years now, both with
 being in our custody and over a year of home detention with continuous supervision and monitoring.
 As an adult with autism, he needs to be independent again. We cannot emphasize enough how
 important this is for his future that he not further be held back from or limited in moving forward.
 Please allow Daniel to reestablish his life in his adopted home state of California, with at most a
 requirement for community service.
                                                    Sincerely,




           Bruce A. Goodwyn                                                 Marie-Jose E Goodwyn
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                                                                                Andrew Goodwyn



                                                                                    May 16, 2023
United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Pettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,

My name is Andrew Goodwyn, and I am a practicing attorney in Nashville, Tennessee, where I
own and operate a law firm with one other attorney. I am involved in the Nashville community
both through my business and through my own volunteer efforts. I teach a legal class six times a
year to minority business owners through the non-profit Corner to Corner and I mentor students
both through the Belmont Law School American Inns of Court and the non-profit Persist Nashville.
I thoroughly understand the importance of my role as an attorney in the community and I strive to
carry myself in a way that is uplifting to others and leaves a good impression on our profession.

Daniel is my older brother. I love and respect my brother deeply and speak to him daily which I
have done for my entire life. There is likely no one on earth that knows my brother’s heart in the
way that I do. Something we often speak about in the law is the intent of a person’s actions and I
know my brother has always had the intention of loving others in the way the Bible instructs him
to. Of course, all humans are flawed, and he has not always accomplished his intention with
perfection. Loving others does not mean always doing what they want you to do, but instead it
requires that we examine the situation and seek to help them in a way that is beneficial for all
involved. This is never an easy task, but it is one that my brother has never shied away from. He
has always sought to direct me, as his younger brother, in a way that will strengthen my character
and make me a better man.

My brother has had his fair helping of adversity to overcome growing up on the Autism Spectrum.
I do not mention this because I want pity, but because I think it is important to understand all of
the facts when making decisions. Making friends is difficult for anyone, but even more difficult
when your baseline is different than the general population. It was not until college when I wrote
a research paper about Autism that I started to understand my brother in a different way. This is
when I started to intentionally seek to understand him. What I concluded was that Daniel generally
sees things in black and white and he processes and conveys information in a vastly different way
than anyone I know. To most, this can be a somewhat jarring experience because most people tend
to hold many of their thoughts back. Daniel is incredibly direct and will tell you when he thinks
you are wrong (and usually he is right) and how you can correct yourself. This can be extremely
frustrating, however, after I step back and think about it, I always find myself realizing that my
frustration is simply because I know he is right. He doesn’t call me out on things because he wants
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to belittle me, but because he wants me to grow. Daniel is honest, passionate, and unwaveringly
sincere.

Throughout our lifetime spent together, I have watched Daniel face many challenges. When he
was assaulted by a homeless man at a bus stop, he did not retaliate violently. When he was
assaulted by a group of men in San Francisco, he did not react violently, but instead prayed for
them and continued to serve his community. Daniel is a good man, and I say that with the context
of someone who knows him fully.

Today I am pleading for leniency for my brother and for you to treat him fairly. It is my belief that
prison would not be a proper punishment for his actions. I believe Daniel should continue to work
with an autism specialist who understands how his brain is wired. If anything positive can come
from this situation, it would be for Daniel to understand himself deeper through proper therapy so
that he may understand others more deeply and continue to serve his community as he has done
his entire life. Please take my words into consideration.

                                                                                  With full honesty,



                                                                                 Andrew Goodwyn
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                                                                                  Laura Markum


                                                                                     05/20/2023
United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,


My name is Laura Markum and I am Daniel Goodwyn’s sister. I have known Daniel my whole life
and have always known him to be a caring and genuine person. He has always been active in
his faith and has had a desire to make the world a better place. I remember in high school we
used to walk the halls of our school before school started and pray for everyone that would later
arrive. Later, he moved to San Francisco to join a ministry focused on prayer and reaching out
to the community there. Ever since he first visited San Francisco around 2006 he has had a love
for the city and the people there. As we have grown, Daniel and I have diverged in our faith and
beliefs. We are in complete disagreement politically and ideologically, however I do not believe
that it has ever been his intention to hurt anyone or to break any laws. He has always been a
peaceful person, and has been a part of many peaceful protests in the past. I believe that was
his intention being in Washington on January 6th, even though others may have had other
intentions.
I’m asking you to please be lenient as you deal with my brother’s case. He has already served
time in home confinement, and has had to put his life in California on hold while he has awaited
trial. His desire is to return home and continue serving his community in peace. In addition, as
Daniel is a person with Autism, I believe that prison would be harmful to his mental health and
that he would benefit, rather, from therapy from an Autism specialist as he re-enters his
community. Thank you for your time, Judge Walton.


Sincerely,
Laura Markum
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Providence Chapel
PO Box 705
Denton. Texas 76202
5-8-2023



5-20-2023

United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C.20001

Re: Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153
Dear Judge Walton,

Thank you for your time in reading this appeal letter for Mr. Daniel Goodwyn. We are the elders
of Providence Chapel, a church in Denton, Texas. The Goodwyns are members of our church
and Daniel attends here when he goes to church. We have been ministering support to him and
his family and they have a quality support system in place to help Daniel in the future.

We have known Daniel for the past four years and have observed his life as a peaceful
and sincere young man who has always conducted himself in a good way during the years we
have observed his life. He has never in any way been a violent person or anything other than a
good member of the community.

We want to give this sincere and accurate testimony of our knowing Daniel and want to
ask for leniency in his case. We feel it proper to sincerely ask that he not be put in prison, but
rather allow him to receive any valid therapy or counseling and resume a normal life as the good
young man he has always evidenced being.

Thank you again for your time and for your important work in these difficult days.

Sincerely yours,

fi*&,fu*;
Mack Tomlinson

Philip Neeley
Lee Dodd
Alan Pop
Jeff Price

The Five Pastor/Elders of Providence Chapel, Denton, Texas
       Case 1:21-cr-00153-RBW Document 105-2 Filed 05/23/23 Page 8 of 33



Benjamin Chung



2023/5/22

United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,
I am Reverend Benjamin Chung, a pastor with 14 years of experience. I had the privilege of
meeting Daniel in 2016 at a Christian evangelistic event organized by Love San Francisco.
During that time, Daniel was actively involved and demonstrated a strong commitment to
sharing the good news of Jesus Christ with those who were seeking it. As followers of the
Christian faith, we are called to spread love and compassion to all people. I witnessed Daniel's
genuine care for individuals on the streets, as he took the time to engage in conversations,
listen to their stories, and provide them with food and drink during our visits to various areas in
San Francisco where we testified about Jesus.
Truth holds great significance for Daniel. Having embraced the truth of Jesus, he feels
compelled to share it with others. Given Daniel's low-level signs of autism, he tends to view
matters in a black-and-white manner. This means, he is meticulous in following instructions and
being organized, which has helped the Love San Francisco organization complete tasks such
as, scheduling events and arranging payments for purchases and permits. Therefore, it is not
surprising that he attended the January 6th event with the intention of addressing what he
perceived as falsehoods and exposing what he believed to be untrue. However, I firmly believe
that had he been informed that entering the Capitol building was prohibited, he would not have
taken a single step inside. Daniel's passion for his beliefs can make him vocal, but he has never
displayed any inclination towards violence. I am confident that he possesses self-control even in
moments of frustration. It is simply not in his nature. His love for the United States of America
and his genuine conviction that a wrong was committed regarding the 2020 election are the
driving forces behind his actions.
I humbly request leniency in Daniel's sentencing. Imposing a prison sentence will not serve any
beneficial purpose for him. Throughout his life, he has been a law-abiding citizen who values
honesty and adheres to the rule of law meticulously. Sentencing him to prison would only cause
confusion and further distress. Instead, I implore you to consider allowing Daniel to resume his
life as a free citizen while receiving the therapy he requires.
Thank you for your consideration.


Sincerely,
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Adam Hood

                     .

                  CA 9


5/22/2023


United States District Court for the District of Columbia

Attention: Honorable Judge Reggie Walton

E. Prettyman Courthouse

Washington, D.C. 20001


Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153


Dear Judge Walton,


My name is Adam Hood, an ordained minister who has facilitated citywide outreach to the most
broken and hurting people in the city of San Francisco for the last 17 years. More recently, I
have been blessed to be the director of Love San Francisco, a unity organization that works with
many diverse ethnic churches and denominations. I first met Daniel in 2007, when I was hosting
a 24/7 unity prayer and worship event that he attended. A few years later, he moved into the
ministry house where I facilitated Christian community, discipleship in prayer and the scriptures,
and ministry planning and implementation. I have known him for the past 15 years and he
stands out to me as one of the most committed people to the cause of truth and justice that I’ve
ever met, and because of this Daniel became one of my most trusted volunteers in organizing
outreaches, working tirelessly for the cause of church unity, prayer and outreach work.


Daniel is a very loyal friend and a very hard worker who would do anything to help a hurting
and broken soul. One example of that is when a young drug addict we were ministering to
jumped our fence and knocked on his window at 4am, begging for help. Daniel didn’t think
twice and immediately brought him inside, prayed with him, gave him good counsel and directed
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him to a christian rehab facility nearby. He also loves and prays for our country regularly and is
a true patriot who loves our constitution, as I’m sure you do as well.


After knowing Daniel for so many years, I discerned he had most of the symptoms attributed to
Aspbergers and high-functioning autism. We (my wife and I) encouraged Daniel to seek a
diagnosis and care with a top rated Autism Spectrum specialist, which he did. I even joined him
in some of those meetings for accountability. His unique condition would manifest in a way
where he could not mentally let something go when it had to do with a truth or accurate
information about any topic. Though he’s always been non-violent, because we lived in
community with other people, we had to address the nuance of social engagement for more
fruitful, relational interactions. This is something that he was eager to pursue on his own and
pay for with his own money as he worked hard to earnestly better himself through many therapy
sessions.


Daniel has spent 21 days incarcerated at a facility and roughly 1 year in pre-trial house
confinement and has been forbidden from his life in California where he’s had gainful
employment for years and a serious calling in outreach ministry. I would humbly request that
you will count this incarceration and pre-trial confinement as time served for any infraction he
may have incurred on January 6th. His Aspberger condition compounds the situation with
incarceration/confinement, especially as he is an extremely extroverted individual and is
passionate for reaching the poor and broken of San Francisco, as he has done for years, and
longs to get back to this much needed ministry ASAP. I, along with millions of people, were able
to watch the January 6th footage of Daniel and it aligns with what he previously told me about
that day. In my humble opinion, it looks to me as though he got swept up in the crowd and
walked into the capitol building and then back out in less than 1 minute's time, with no violence
and without any vandalism or any other crime. I appeal to your best judgment in this matter- to
keep Daniel out of prison, to take him off of home confinement and to allow him to continue
therapy for his Aspberger’s and to once more pursue his ministry vision in California. He has
learned his lesson and has had ample time to consider the weight of his actions and course
correct.



 Sincerely,

Adam Hood


                   05/22/2023
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                                                              Dustin Sharpe



                                                              5/17/23

United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,

   I am Dustin Sharpe, I have been employed as a full-time minister and Director of the Denton
Freedom House, located in Aubrey, TX for the last 10 years. My wife and I acted as home group
leaders and head worship leaders for Freedom Church Denton for the past 5 or so years and for
the last 3 years I have been a Deacon of Freedom Church. I know Daniel well, as our families
have been very close for going on 30 years. Our parents are close friends and Daniel’s brother,
Chris, has been one of my personal closest friends since the early 2000s. I have followed
Daniel’s ministerial involvement and political concern for the past number of years. I say this to
give credence to my knowledge and concern for Daniel’s situation.

    Since I have known Daniel he has always been different. He didn’t seem to be interested in
things that people his age were interested in. Instead he usually seemed content with growing in
knowledge and understanding and the search for justice. He always had something new that he
was researching, some truth that he wanted to uncover, and oftentimes he would bring things to
the table that were hard for me to deal with. Early on, it was easier for me to turn a blind eye and
basically just hope that what he was uncovering was false, but the more my eyes became opened
to the dark underbelly of the political system, the harder it was for me to ignore his findings.

   The more time I’ve spent with Daniel the more I’ve realized that his search for Truth is a
personal, moral requirement based on principle and the Gospel of Jesus. Daniel has an
unwavering focus on uplifting the oppressed and broken; and exposing and bringing to justice
those that are the oppressors. As stalwart and unwavering his approach to justice is, it never
crossed the lines afforded by the U.S. Constitution. Never.

   Among others I have seen anger at the lack of justice in the political system and I have seen
frustration at the seemingly futile attempts to open the eyes of the politically unengaged. I have
even seen disgust at the evil that permeates the greedy and self-serving elite and political classes.
But even during times of real frustration among a large number of people, what I saw practically
from Daniel was a quiet determination to keep pressing forward, to keep preaching Truth, to
keep hoping and believing all things for and toward the good of our nation.

   I have never seen violence from Daniel. Again, never.
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    I ask now, specifically and confidently that leniency be granted to Daniel Goodwyn. His
intentions have always been good. He is not in any way a man deserving of any continued
punishment. I have stood beside Daniel and his family during the duration of his arrest time in
jail, subsequent home confinement, and continued custody under his parents as an adult man, and
I can speak directly to the shock and horror it caused the Goodwyn family. They were treated
like common criminals. I believe there is still a lingering anxiety in some of Daniel’s family
members where I plea that you will not further continue punishment.

    During the entire duration of Daniel’s house arrest, he was able, by special permission, to
come to Freedom Church Denton on Sundays. I can say that the Daniel used that time very
wisely. He submitted himself to the Lord, he trusted the Lord with his whole heart, and I believe
that Truth will prevail with justice. Please grant my friend the opportunity to help others where if
you must do anything, please assess only community service. He needs no further watching as he
experienced for over two years. God is watching and Daniel knows this. He has a community of
friends to watch over him if there is any future time when a decision needs external interpretation
beforehand given his autism. He will not intentionally violate the law.

   As a final note, I would like to say that I have seen the video of Daniel walking through the
Capitol Building. I believe that the assessment of any honest person would reveal a man,
subdued and compliant, not resisting, not fighting, not insisting on his own way. A reasonable
viewer sees a man who when asked to leave, seems to immediately obey. He knows he was
wrong in delaying for some seconds to answer a reporter who police let remain inside.

    I would posit that if there is any punishment deserving of his actions, that he has long paid it
in the form of prior 21 days' jail time, and years of house arrest and humiliation. Please allow
him to serve the community and restart his life.

                                                      Sincerely,
                                                      Dustin Sharpe
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                                                                             Adrie


                                                                                        5/18/2023

United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001
Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,

  I hope this letter ﬁnds you well. My name is Adrienna, and I am a mother as well as a business
owner. I am writing to you today regarding Daniel, whom I have known for the past ﬁve years.
Our connection stems from my political event planning business and our friendship. Daniel has
been an integral part of my team, serving as my web designer for two years and assisting me
with other projects whenever the need arises.
  During the two years we worked together full-time, Daniel and I shared a strong work ethic
and collaborated diligently. Our professional relationship evolved into a bond akin to family. We
approached our work with great importance, ensuring that we followed all necessary procedures
when coordinating events in various cities across the country. It is crucial to emphasize that our
endeavors were always carried out in a lawful and safe manner, with the appropriate permits and
security measures in place. Violence was never a part of our work; instead, we prioritized the
safety and well-being of event attendees and the local communities. This is how I personally
know that Daniel would never act to jeopardize any person or property.
  In particular, I want to highlight how we supported the lawful process during the events
surrounding J6 and how we actively coordinated with law enforcement for the
#DemandFreeSpeech movement. Our collaborations with law enforcement were always
conducted in good faith, with the aim of ensuring the peaceful and secure execution of the
events. We respected the importance and authority law enforcement holds within our cities,
consistently working hand-in-hand with them to foster an environment of lawfulness and order.
And I know Daniel would never take any action that he thought would endanger anyone. You
may not be aware, but given his autism, he sees black and white and he would not stay amidst
violence or make any calls for it. He saw peaceful people on January 6th and not what may have
been happening elsewhere or else he would have stood against any threats. He would never be
part of them.
  It is crucial for you to know that I, as well as Daniel, have never displayed any violent
tendencies or engaged in any activities against authorities. On the contrary, we have always been
compliant, supportive of law and order, and respectful of the legal system. Our commitment to
maintaining a peaceful environment is rooted in our core values. Daniel, in particular, has always
exhibited a non-violent nature, demonstrating exceptional poise and restraint even in challenging
situations, such as being chided for his conservative beliefs. His character is one that embodies
respect for authority and a genuine desire to contribute positively to society.
  Moreover, I would like to emphasize that Daniel is an esteemed member of our community,
embodying numerous commendable traits. It is my humble request that you carefully consider
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                                                            Rev. Stephanie Holmes
                            05 / 08 / 2023


                                                            May 8, 2023

United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Honorable Judge Walton,

        I am Rev. Stephanie Holmes, and I am a certified autism specialist, and this is how I
came to know Daniel Goodwyn. When Daniel lived in a Christian communal setting (San
Francisco, CA), the leader of the home suggested Daniel receive some therapeutic work and
investigate Asperger’s Syndrome/Autism Spectrum as he (Daniel) struggled with interpersonal
relationships within the community and sometime at his place of employment. I met with him,
and the leader of the Christian community December of 2017 and we would meet a total of 35
times from December of 2017 through July 16, 2019. Most of our meetings were 1 on 1 but
occasionally may include a housemate or the leader of the community under which he
volunteered and served. While I was in GA and at the time, he in CA, I was unable to do a
formal assessment of Autism/Asperger’s, but I believe he meets all criteria. I train professionals
on how to assess adult autism/Asperger’s. I operated at this time as a pastoral type of counselor
within his faith beliefs and life coach on working with and understanding the traits of Autism to
improve relationships between him and his community. Daniel often struggled to see the impact
of his words and actions on others, yet never meant harm or malice. How he stated things and his
rigid beliefs and how he communicated rubbed people the wrong way, yet his faith and heart
were not doubted by the community in which he lived.

        Daniel is very concerned about our country and has deep convictions about freedom of
speech. He loves America and would never do anything to threaten the security of America.
Daniel is passionate and feels deep conviction to share his faith and bring unity among Christian
faiths. Daniel is passionate about Israel and speaking out against antisemitism. When he lived in
San Francisco area he was very rooted in his community and involved in volunteering with I
SF, Jews for Jesus, and various degrees of missions work locally and abroad. Because of his
deep faith convictions and his neurological wiring there is a deep conviction of right and wrong
and keeping to the 10 commandments and being authentic in his faith. Daniel is a man of deep
conviction but never sought violence. Those I spoke with who knew and lived with him stated
him to be a person of integrity and honesty even though they struggled with him inter-
relationally. They spoke of his character and convictions. The struggle was social.
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         I am asking for leniency because Daniel is not a threat. As I have been following the
case, it was important for me to know if he was affiliated with the Proud Boys (because I
personally do not agree with the methods of the PB), before agreeing to write this letter, and he
said he is not. He does not lie, so I believe him. He is not violent; he did not steal or vandalize
by participating in the events of January 6th. I am asking for leniency and ask your consideration
to not place Daniel in prison. Let him help others, receive therapy to increase social and
executive functions skills, resume life and a career as the non-violent person he has always been.
There are many coaches and providers now who work with adult Autism/Asperger’s in both
Texas and California, and I suggest he work with someone locally, if possible, to help him
understand more about his neurological wiring and improvement in interpersonal skills and cause
and effect and impact versus intentions. While there have been high profile cases of some on the
spectrum breaking the law, these incidents are rare, and it is more likely for someone on the
spectrum to be a victim of crime or violence than to commit violence or crime.
         While I have not spoken with him about this recently, his heart and passion were for the
city of San Francisco which is why he moved out there from Texas and saw himself settling
there. He loves America and values freedom of speech that he felt convicted to speak out about.
In watching the video provided to me, he was in the building for under a minute and did not
harm anyone, did not vandalize, did not steal and when asked to leave, left immediately, which
the video shows. While I do not share entirely the same political convictions and beliefs of
Daniel Goodwyn, he should not be punished for his beliefs and convictions. Please consider
leniency and allow him to resume life as an American citizen that loves America and encourage
him to seek help to better under his Autism/Asperger’s and its impact on him and others. I would
be happy to put together a list of those who are qualified to help as my coaching practice is full.



Sincerely,
                       05 / 08 / 2023

Rev. Stephanie Holmes
Autism Coach
Certified Autism Specialist
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                                                                           Giovanny Thompson
                                                                              2607 Colwell Rd.
                                                                            Houston, Tx, 77068

United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1;21-cr-153

Dear Judge Walton,

I am Giovanny Thompson, I am a video editor and graphic designer from Houston, Texas.
I know Daniel from working with him on a website for a former congressional candidate and a
media company that held political events. I have known Daniel for approximately 4 years now
and have met him three times in person over those years. I have been in communication with
Daniel over the course of the four years that I have known him.

I have never known Daniel to be a violent person or uncompassionate. He is extremely sincere
and an honorable man. He has always been very vocal about his beliefs but never a threat to
any person including himself. Daniel has always seemed like a perfectly normal guy to me and I
regret learning about the circumstances he is facing. I did not know he suffered from Autism
during our interactions over the years.

I plea that the judge show leniency in the sentencing and not send Daniel to prison. Those of us
that deeply care about his well-being think he should be allowed to resume life helping others
and paying the fines accumulated during his case because he is not a threat. I hope that the
judge will consider these kind words and take them into account when sentencing Daniel.


Sincerely,


Giovanny Thompson
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United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,

My name is Daniel Piers, and I manage a data analytics team at Uber in Seattle, Washington. I
have known Daniel Goodwyn since we were children. I went on months-long road trips with him
and other friends when we were teenagers. I lived with him for 2.5 years in San Francisco.

I received a diagnosis of Level 1 Autism Spectrum Disorder (ASD) after a neuropsychological
assessment performed by Dr. Kelly Cornett (PsyD, CBIS) in Seattle, Washington in May of
2021. Over the years, our friend group had speculated whether I might be autistic, but we all
believed that Goodwyn was on the spectrum. As an autistic person who has known him for most
of his life and spent extensive time with him, I believe he would likely receive a Level 2 ASD
diagnosis if subjected to a formal evaluation.

His stubbornness, inflexible thinking, and difficulties understanding socially appropriate behavior
have caused issues for him over the years, but I have never known Goodwyn to utilize violence
to promote the causes he supports. He is very passionate about his beliefs and earnestly
believes prayer is a more effective mechanism for change than violence.

It’s obscene to me that Goodwyn has been subjected to weeks of solitary confinement and an
extended period of house arrest when his ultimate crime was walking in and out of the Capitol.
Meanwhile former President Donald J. Trump directly incited the crowd to storm the Capitol and
has faced zero repercussions.

I struggle to reconcile the fairness of their situations relative to their respective contributions to
the chaos on that day, but I trust that your sentencing will be fair and just.

Sincerely,
Daniel Piers
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                                                              David Vincent



                                                              5/8/2023

United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,

    I am David Vincent. I reconnected with Daniel through our church membership and initially
met him when travelling the US back in 2007, before I became a US Citizen. My wife and I have
known Daniel and his family since that time (approximately 16 years). My wife and I have been
friends with the Goodwyn family for about the same amount of time – she was best friends with
Daniel’s sister, Laura. Daniel and I have enjoyed friendship with one another over the years as
well. Daniel and I attend the same church and he occasionally joins us for social gatherings in
our home.
    Ever since I’ve known Daniel, he has actively pursued justice and truth. He has often been on
the front lines with causes to bring about positive change in the communities he has been a part
of. I’ve often looked up to him for his unconventional and at times sacrificial lifestyle. I have
never found Daniel to be hot-tempered, foul-mouthed or untruthful. I have never seen him lift a
finger to hurt anyone or encourage others to perform any sort of unlawful conduct.
         Despite being a man of conviction, he always conducts himself honestly and seeks to live
at peace with the people around him. He is diligent, thoughtful and intelligent. I enjoy having
him around.
       I pray that Daniel would be treated with respect and honor, as he shows to others and not be
detained or placed in prison on account of the violent actions of others. There is a place for
peaceful protest in community and we saw with BLM how protests became riots much more
violent in nature, albeit with similar convictions (underrepresentation, injustice etc.), however I
have not seen any trials of this magnitude held for any of those involved. I believe Daniel found
himself in a place he didn’t expect to be in with J6. I believe his involvement stemmed out of a
position of concern for this country’s freedoms, that any American should be willing to defend,
one of these elements being a free and fair election. The movement, to my knowledge, saw no
other means to protest.
         I have spoken with Daniel specifically with regard to the J6 movement. He did not have
nefarious motives, simply wanted to be an advocate for freedom in this Country. I personally do
not shun him from my life on account of his social, political involvements. We are all entitled to
our 1st Amendment rights. He should be given the opportunity to reintegrate into community, let
his family heal, return to an orderly life and to learn and move on from this chapter of his life, so
that he can continue to be the valuable member of society that he is.

Sincerely,




David Vincent
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                                                                                                                                                                     Keith	  Burton	  Hall,	  Jr.	  


                                                                                                                                                                       Date:	  May	  20,	  2023	  

United	  States	  District	  Court	  for	  the	  District	  of	  Columbia	  
Attention:	  Honorable	  Judge	  Reggie	  Walton	  
E. Prettyman	  Courthouse
Washington,	  D.C.	  20001


Statement	  for	  Sentencing	  Re:	  Daniel	  Goodwyn,	  Case	  1:21-­‐cr-­‐153	  


Dear	  Judge	  Watson,	  


My	  name	  is	  Keith	  Burton	  Hall,	  Jr.	  and	  I	  am	  the	  teacher	  of	  record	  for	  7th	  grade	  English	  and	  Science	  at	  Irvine	  
Intermediate	  School,	  in	  the	  Garden	  Grove	  Unified	  School	  District.	  	  I	  have	  been	  teaching	  for	  over	  twenty	  years	  in	  the	  
state	  of	  California.	  	  I	  have	  known	  Daniel	  since	  2011.	  	  We	  have	  been	  friends	  for	  that	  time,	  and	  we	  have	  lived	  together	  
and	  had	  many	  shared	  experiences.	  


On	  many	  occasions	  I	  have	  witnessed	  Daniel	  go	  out	  of	  his	  way	  to	  work	  with	  youth	  in	  the	  San	  Francisco	  community	  
and	  within	  his	  sphere	  of	  influence.	  	  Daniel	  is	  a	  person	  of	  outstanding	  moral	  character.	  	  Daniel	  was	  never	  violent	  and	  
actually	  had	  a	  gentle	  countenance	  and	  demeanor	  about	  him.	  	  On	  several	  occasions,	  I	  have	  seen	  Daniel	  work	  with	  
youth	  and	  others	  with	  integrity	  and	  faithfulness.	  	  	  Daniel	  worked	  hard	  with	  computers	  and	  graphic	  design	  and	  paid	  
his	  bills	  on	  time.	  	  In	  all	  of	  my	  dealings	  with	  him	  I	  recall	  him	  demonstrating	  integrity	  and	  having	  a	  calmness.	  


I	  have	  witnessed	  him	  generously	  donate	  his	  time	  and	  resources;	  often	  doing	  volunteer	  work	  for	  the	  church	  in	  areas	  
of	  community	  outreach,	  youth	  ministry	  and	  church	  development.	  	  Daniel	  has	  worked	  faithfully	  and	  consistently	  in	  
the	  San	  Francisco	  Bay	  Area.	  	  In	  addition,	  I	  can	  personally	  speak	  to	  the	  fact	  that	  Daniel	  is	  also	  a	  devoted,	  loving,	  
gracious,	  and	  faithful	  son,	  citizen	  and	  friend.	  


I	  would	  ask	  for	  leniency	  in	  regard	  to	  my	  young	  friend	  Daniel.	  	  Please,	  I	  beg	  of	  you,	  to	  not	  place	  Daniel	  in	  prison.	  	  I	  
know	  that	  he	  is	  on	  the	  spectrum	  and	  will	  suffer	  there.	  	  Please	  allow	  him	  to	  continue	  to	  work	  with	  others	  in	  his	  
community,	  continue	  his	  therapy,	  and	  continue	  his	  civilian	  life	  in	  like	  manner,	  as	  a	  good	  young	  man.	  	  I	  realize	  he	  
has	  already	  served	  time	  in	  home	  confinement	  and	  location	  monitoring.	  	  Please,	  I	  call	  for	  mercy	  and	  understanding,	  
in	  regards	  to	  my	  good	  friend	  Daniel.	  



                                                                                                           Sincerely,	  



                                                                                                           Keith	  Burton	  Hall,	  Jr.	  
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                                                                    David Sumrall




                                                                    May 19 2023

United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,

   I am David Sumrall, founder of StopHate.com, Executive Producer of “Righting History: The
Journalistic Battle of January 6th” and “Bloody Hill” documentaries, author/co-author of articles on
January 6th, including the “5 Deaths of January 6th” article, and a licensed private investigator/ subject
matter expert of January 6th and January 6th video footage. I detail these credentials as they are and have
been my roles in the pursuit of truth before and after January 6th, 2021. My Stop Hate Investigative Team,
that included Daniel Goodwyn, went to Washington D.C. for January 6th to document, and record that
historic day in what we believed to be a constitutionally protected right of American citizens to
“peacefully and patriotically” “redress their government” and exercise their 1st Amendment rights.

    I first met Daniel in 2019 in San Francisco at a Free Speech event. Daniel was working with a local
ministry at that time. I was immediately impressed by Daniel’s integrity and his exceptional skills, so we
began working together. Daniel has been a part of our Stop Hate team years before and after January 6th
(to include during his house arrest time). He is proven himself to be a trustworthy and capable team
member in maintaining our social media accounts and website updates under my direction. Daniel is
exceptionally detailed oriented (in part due to his autism) and has always been positive, peaceful, and
persistent in details in getting things right.

  As a member of our Stop Hate team, Daniel has also worked well and collaboratively, especially on our
important articles, as Tayler Hansen, Tamara Leigh, and others can confirm.

   We beseech the Court for compassion and leniency in Daniel’s case. Daniel has dutifully obeyed the
terms of his pre-sentencing requirements and has demonstrated he is to be trusted in respecting the
Courts and our judicial process. Incarcerating Daniel into a prison system, given his special needs, in my
humble opinion, crosses the threshold of justice served to cruel punishment. Daniel’s actions around
January 6th were in no way motivated by ill-intent or a desire to cause any harm to any persons or
property. In fact, they were the opposite and Daniel would like nothing better than to have this
challenging time behind him and resume his life as a peaceful, law-abiding citizen.


                                                            Sincerely,


Tayler Hansen                                               David Sumrall




Kelly Moore                                                 Tamara Leigh
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                                                                             Christopher Goodwyn


                                                                                      13 May 2023
United States District Court for the District of Columbia
Attention: Honorable Judge Reggie Walton
E. Prettyman Courthouse
Washington, D.C. 20001

Statement for Sentencing Re: Daniel Goodwyn, Case 1:21-cr-153

Dear Judge Walton,

Hello, my name is Christopher Goodwyn, and I am Daniel Goodwyn’s older brother. Having
known Daniel his entire life, I can confidently attest to his good character. Even before Daniel
devoted himself to a life of service through various church and ministry-related affiliations, he
was always a seeker of truth and a champion for the defenseless.

Daniel has personally taken part in outreach programs aimed at helping marginal communities,
particularly in San Francisco and the Bay Area of California. Despite being a highly intelligent
and capable person, Daniel has consistently prioritized service and activism over financial gain,
demonstrating his deep commitment to selflessly helping others.

Daniel’s commitment to help others has caused him to cross paths with violent persons who in
several cases have assaulted him, yet on no occasion has Daniel himself resorted to violence,
even in his own defense.

I am proud to say that Daniel is a person of great integrity, compassion, and dedication, and I
have no doubt that he will continue to make a positive impact in the world.

I plead for your leniency in this case. I ask that you would not sentence Daniel to any time in
prison. Daniel is ready to continue his life of outreach in San Francisco, and dedicated to
continuing therapy. Daniel’s period of home confinement and time of confinement to the
counties around Dallas Texas has kept him from being in San Francisco, where he believes he
is called to be.

Sincerely,
